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                              IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                                 )
JANE DOE et al                                   )
                                                 )
                                                 )
                   Plaintiff(s)                  )
          v.                                     )    Civil Action No. 1:16-cv-00303
                                                 )
NESSET                                           )
                                                 )
                                                 )
                   Defendant(s)                  )


                                        REPORT OF NEUTRAL


A   mediation           session was held in the above captioned matter on   April 27, 2018    .

The case (please check one):
       X     has resolved
             has resolved in part (see below)
             has not resolved.

The parties request that a follow up conference with the Court should be scheduled within
_____ days.


If the case has resolved in part, please indicate the part that has resolved and/or the
claim(s)/parties that remain.




Dated:    May 2, 2018                            _____________________________________
                                                 S/ Kenneth J. Benson
                                                 Signature of Neutral

                                                                                             Rev. 09/11
